 Case:18-05288-EAG11 Doc#:247 Filed:10/11/19 Entered:10/11/19 16:33:25       Desc: Main
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1                       IN THE UNITED STATES BANKRUPTCY COURT FOR
                                THE DISTRICT OF PUERTO RICO
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3
     IN RE:                                   CASE NO. 18-05288-EAG11
4     SKYTEC INC                              Chapter 11

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6
     XX-XXXXXXX
7
                    Debtor(s)                    FILED & ENTERED ON OCT/11/2019
8

9                                            ORDER

10         At the hearing held August 28, 2019 on the motion to appoint a trustee,

11   the court made an initial ruling that the debtor was insolvent within the 90-

12   day preference period prior to the bankruptcy and also within the one-year

13   period for preferential payments made for the benefit of insiders. (Dkt. No.

14   236). In addition, a review of the pretrial report at docket number 232 revealed

15   that many of proposed facts listed by the parties as contested are, in fact,

16   not in dispute.   In view of the above, the court orders the parties to file an

17   amended pretrial report by October 17, 2019.

18         IT IS SO ORDERED.

19         In Ponce, Puerto Rico, this 11 day of October, 2019.

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